                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )       Criminal No. 3:10-00250
                                                  )       Judge Trauger
MATTHEW PAUL DEHART                               )

                                         ORDER

       It is hereby ORDERED that another status conference shall be held in this case on

Friday, February 8, 2013, at 4:00 p.m.

       It is so ORDERED.

       ENTER this 18th day of December 2012.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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